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                              EXHIBIT 12
         Case 2:21-cv-10163-GAD-APP ECF No. 28-13, PageID.1142 Filed 02/19/21 Page 2 of 4

                                                                                                                           PRICE QUOTE


                                                                                                                                            Quote 21445
                                                                                                                  Quote Date: Jul 10, 2020
                                                                                                              Quote Expiration: Sep 30, 2020
                                                                                                                 Sales Rep: Detroit IT Sales


       Company:                                           Ship To:                                               Bill To:

       Detroit Axle                                       Detroit Axle                                           Detroit Axle
       200 Eight Mile Rd                                  200 Eight Mile Rd                                      200 Eight Mile Rd
       Ferndale, MI 48220                                 Ferndale, MI 48220                                     Ferndale, MI 48220



                                               Item                                                      Price                 Qty            Subtotal

                                                                HARDWARE (ONE TIME)

            Lenovo 22" ThinCentre Tiny In One 21.5" Monitor with                                            $                        2             $
            Speaker and Webcam

            Lenovo ThinkCenter Tiny M75Q                                                                    $                        2             $

                                                                                                                             Subtotal            $1,328.00

                                                                                                                                 Total         $1,328.00




     AGREED TO AND ACCEPTED:




                                  09/28/2020
     ___________________________ _____________________

     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

     (www.detroitit.com/terms). These terms are considered to be the most recent and take precedent over any other previously written or implied terms and

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                                                                                                                            PRICE QUOTE

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                       Signature Certificate
                   Document Ref.: VATUD-SE4FU-U96EU-EZJ7B

   Document signed by:

                     Luis Fonseca
                     Verified E-mail:
                     lfonseca@detroitaxle.com

                     IP: 107.77.192.17     Date: 28 Sep 2020 16:53:59 UTC



                         Document completed by all parties on:
                             28 Sep 2020 16:53:59 UTC
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